                                 Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 1 of 12

 Fill in this information to identify your case and this filing:

  Debtor 1                       Timothy                     Luke                     George
                                 First Name                 Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)            First Name                 Middle Name              Last Name

                                                                               Southern District of Texas
                                                                                                                                                                     ❑
  United States Bankruptcy Court for the:
                                                                                                                                                                            Check if this is an
  Case number                                                                                                                                                               amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                              12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where
you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1     5922 Euclid Loop                                          What is the property? Check all that apply.                              Do not deduct secured claims or exemptions. Put the
             Street address, if available, or other description         ✔ Single-family home
                                                                        ❑                                                                        amount of any secured claims on Schedule D: Creditors

                                                                        ❑ Duplex or multi-unit building
                                                                                                                                                 Who Have Claims Secured by Property.

                                                                        ❑ Condominium or cooperative                                           Current value of the           Current value of the

              Richmond, TX 77469-2053                                   ❑ Manufactured or mobile home                                          entire property?               portion you own?

             City                             State       ZIP Code      ❑ Land                                                                               $490,070.00                 $490,070.00
                                                                        ❑ Investment property                                                  Describe the nature of your ownership interest
              Fort Bend
             County
                                                                        ❑ Timeshare                                                            (such as fee simple, tenancy by the entireties, or a
                                                                        ❑ Other                                                                life estate), if known.

                                                                        Who has an interest in the property? Check one.                         Homestead
                                                                        ❑ Debtor 1 only
                                                                        ❑ Debtor 2 only                                                        ✔ Check if this is community property
                                                                                                                                               ❑
                                                                        ❑ Debtor 1 and Debtor 2 only                                               (see instructions)
                                                                        ✔ At least one of the debtors and another
                                                                        ❑
                                                                        Other information you wish to add about this item, such as local
                                                                        property identification number:

                                                                        Source of Value: Ft Bend CAD
 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................       ➜          $490,070.00




Official Form 106A/B                                                                            Schedule A/B: Property                                                                     page 1
                                Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 2 of 12

 Debtor 1                Timothy                     Luke                           George                                                        Case number (if known)
                         First Name                  Middle Name                    Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
      ❑ No
      ✔ Yes
      ❑
      3.1 Make:                                Toyota                 Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put the

                                               Rav 4
                                                                      ✔ Debtor 1 only
                                                                      ❑                                                                          amount of any secured claims on Schedule D: Creditors

                                                                      ❑ Debtor 2 only
          Model:                                                                                                                                 Who Have Claims Secured by Property.


          Year:
                                               2022                   ❑ Debtor 1 and Debtor 2 only                                              Current value of the            Current value of the

                                               3000                   ❑ At least one of the debtors and another                                 entire property?                portion you own?
          Approximate mileage:                                                                                                                                 $38,000.00                  $38,000.00

          Other information:                                          ✔ Check if this is community property
                                                                      ❑
            VIN: YT3LWRIV2NU070704                                         (see instructions)




 4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
      Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
      ✔ No
      ❑
      ❑ Yes
 5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
      you have attached for Part 2. Write that number here.........................................................................................................         ➜            $38,000.00




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                                          Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.

 6. Household goods and furnishings
      Examples: Major appliances, furniture, linens, china, kitchenware

      ❑ No
      ✔ Yes. Describe........
      ❑
                                           See Attached.
                                                                                                                                                                                           $12,000.00

 7. Electronics
      Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                collections; electronic devices including cell phones, cameras, media players, games

      ❑ No
      ✔ Yes. Describe........
      ❑                                                                                                                                                                                     $3,325.00


 8. Collectibles of value
      Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
      ✔ No
      ❑
      ❑ Yes. Describe........



Official Form 106A/B                                                                            Schedule A/B: Property                                                                     page 2
                                    Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 3 of 12

 Debtor 1                    Timothy                        Luke                               George                                                                   Case number (if known)
                             First Name                      Middle Name                       Last Name



 9. Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑                                                                                                                                                                                                    $2,500.00



 10. Firearms
        Examples: Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑                                                                                                                                                                                                     $200.00



 11.    Clothes
        Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑                                                                                                                                                                                                   $2,500.00



 12. Jewelry
        Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                  silver
        ✔ No
        ❑
        ❑ Yes. Describe........

 13. Non-farm animals
        Examples: Dogs, cats, birds, horses

        ❑ No
        ✔ Yes. Describe........
        ❑
                                                  Dog                                                                                                                                                       $1,000.00



 14. Any other personal and household items you did not already list, including any health aids you did not list

        ✔ No
        ❑
        ❑ Yes. Describe........

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here........................................................................................................................................➜                          $21,525.00



 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                    Current value of the
                                                                                                                                                                                                 portion you own?
                                                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                                                 claims or exemptions.


 16. Cash
        Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        ❑ No
        ✔ Yes........................................................................................................................................................
        ❑                                                                                                                                                                Cash..............
                                                                                                                                                                                                              $100.00




Official Form 106A/B                                                                                         Schedule A/B: Property                                                                         page 3
                                Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 4 of 12

 Debtor 1                Timothy               Luke                George                                    Case number (if known)
                         First Name            Middle Name         Last Name



 17. Deposits of money
      Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                and other similar institutions. If you have multiple accounts with the same institution, list each.
      ❑ No
      ✔ Yes..................
      ❑
                                             Institution name:
      17.1. Savings account:                   Chase                                                                                   $205.69

      17.2. Checking account:                  Chase Checking                                                                         $5,693.00

 18. Bonds, mutual funds, or publicly traded stocks
      Examples: Bond funds, investment accounts with brokerage firms, money market accounts

      ❑ No
      ✔ Yes..................
      ❑
      Institution or issuer name:


      Robinhood Account No. 696859941 85 Willow Rd Menlo Park CA 94025                                                 $946.82

 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

      ✔ No
      ❑
      ❑ Yes. Give specific
            information about
            them...................
      Name of entity:                                                             % of ownership:




 20. Government and corporate bonds and other negotiable and non-negotiable instruments
      Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
      Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about
            them...................

      Issuer name:




 21. Retirement or pension accounts
      Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

      ❑ No
      ✔ Yes. List each
      ❑
            account separately.
      Type of account:                Institution name:

      401(k) or similar plan:         Parker 401k Plan c/o Fidelity 900 Salem St Smithfield RI 02917                 $7,940.00



      IRA:                            Northwestern Mutual Roth IRA Account No. RR1-257940 720 E                        $838.00
                                      Wisconsin Ave Milwaukee WI 53202


      401(k) or similar plan:         Connector Specialists Inc 401k Plan No 258678 Attn: Alex and                  $83,928.34
                                      Joseph Wheelock 175 James Dr St Rose LA 70087



Official Form 106A/B                                                        Schedule A/B: Property                                       page 4
                             Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 5 of 12

 Debtor 1              Timothy                Luke               George                                        Case number (if known)
                       First Name             Middle Name        Last Name



 22. Security deposits and prepayments
      Your share of all unused deposits you have made so that you may continue service or use from a company
      Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies,
      or others
      ✔ No
      ❑
      ❑ Yes.....................
                               Institution name or individual:

      Electric:


      Gas:


      Heating oil:


      Security deposit on rental unit:


      Prepaid rent:


      Telephone:


      Water:


      Rented furniture:


      Other:


 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

      ✔ No
      ❑
      ❑ Yes.....................
      Issuer name and description:




 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
      26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

      ❑ No
      ✔ Yes.....................
      ❑
      Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

       Ohio College Advantage Direct 529 Savings Plan | College Savings Plan for 3 children                          $59,962.65



 25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for
     your benefit

      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....




Official Form 106A/B                                                      Schedule A/B: Property                                        page 5
                             Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 6 of 12

 Debtor 1              Timothy                   Luke           George                                      Case number (if known)
                       First Name                 Middle Name   Last Name



 26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
      Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....


 27. Licenses, franchises, and other general intangibles
      Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                professional licenses
      ✔ No
      ❑
      ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.


 28. Tax refunds owed to you

      ✔ No
      ❑
      ❑ Yes. Give specific information about                                                                   Federal:
                 them, including whether you
                 already filed the returns and                                                                 State:
                 the tax years.......................
                                                                                                               Local:



 29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

      ✔ No
      ❑
      ❑ Yes. Give specific information..........                                                               Alimony:

                                                                                                               Maintenance:

                                                                                                               Support:

                                                                                                               Divorce settlement:

                                                                                                               Property settlement:



 30. Other amounts someone owes you
      Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                Social Security benefits; unpaid loans you made to someone else
      ✔ No
      ❑
      ❑ Yes. Give specific information..........




Official Form 106A/B                                                     Schedule A/B: Property                                                 page 6
                                 Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 7 of 12

 Debtor 1                 Timothy                      Luke                           George                                                        Case number (if known)
                          First Name                   Middle Name                    Last Name



 31. Interests in insurance policies
        Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

        ❑ No
        ✔ Yes. Name the insurance company
        ❑                                                            Company name:                                                       Beneficiary:                        Surrender or refund value:
                    of each policy and list its value....
                                                                      Northwestern Mutual Term Life
                                                                      720 E Wisconsin Ave
                                                                      Milwaukee WI 53202                                                                                                 $1,000,000.00


 32. Any interest in property that is due you from someone who has died
        If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
        property because someone has died.
        ✔ No
        ❑
        ❑ Yes. Give specific information..........



 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
        Examples: Accidents, employment disputes, insurance claims, or rights to sue
        ✔ No
        ❑
        ❑ Yes. Describe each claim................


 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims

        ✔ No
        ❑
        ❑ Yes. Describe each claim................


 35. Any financial assets you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific information..........


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here..................................................................................................................................➜            $1,159,614.50



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37. Do you own or have any legal or equitable interest in any business-related property?
        ❑ No. Go to Part 6.
        ✔ Yes. Go to line 38.
        ❑
                                                                                                                                                                               Current value of the
                                                                                                                                                                               portion you own?
                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                               claims or exemptions.

 38. Accounts receivable or commissions you already earned

        ✔ No
        ❑
        ❑ Yes. Describe........


Official Form 106A/B                                                                              Schedule A/B: Property                                                                   page 7
                                 Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 8 of 12

 Debtor 1                 Timothy                      Luke                           George                                                        Case number (if known)
                          First Name                   Middle Name                    Last Name



 39. Office equipment, furnishings, and supplies
        Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        ✔ No
        ❑
        ❑ Yes. Describe........

 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        ✔ No
        ❑
        ❑ Yes. Describe........

 41. Inventory

        ✔ No
        ❑
        ❑ Yes. Describe........

 42. Interests in partnerships or joint ventures

        ✔ No
        ❑
        ❑ Yes. Describe........
        Name of entity:                                                                                     % of ownership:

                                                                                                                                 %


 43. Customer lists, mailing lists, or other compilations
        ✔ No
        ❑
        ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                ✔ No
                ❑
                ❑ Yes. Describe........

 44. Any business-related property you did not already list

        ❑ No
        ✔ Yes. Give specific
        ❑
             information.........

         1/3 shareholder of Ethan Ellie Enterprises Inc                                                                                                      $16,093.00


         1/3 Fastest Labs of Sugar Land licensing/franchise rights                                                                                           $12,000.00


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.................................................................................................................................➜              $28,093.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
        ✔ No. Go to Part 7.
        ❑
        ❑ Yes. Go to line 47.
                                                                                                                                                                             Current value of the
                                                                                                                                                                             portion you own?
                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                             claims or exemptions.




Official Form 106A/B                                                                              Schedule A/B: Property                                                                page 8
                                  Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 9 of 12

 Debtor 1                  Timothy                      Luke                             George                                                          Case number (if known)
                           First Name                    Middle Name                     Last Name



 47. Farm animals
        Examples: Livestock, poultry, farm-raised fish
        ✔ No
        ❑
        ❑ Yes.........................

 48. Crops—either growing or harvested

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............


 49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

        ✔ No
        ❑
        ❑ Yes..........................


 50. Farm and fishing supplies, chemicals, and feed

        ✔ No
        ❑
        ❑ Yes..........................


 51. Any farm- and commercial fishing-related property you did not already list

        ✔ No
        ❑
        ❑ Yes. Give specific
             information.............


 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here...................................................................................................................................➜               $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53. Do you have other property of any kind you did not already list?
        Examples: Season tickets, country club membership

        ❑ No
        ✔ Yes. Give specific
        ❑                                      Solar Panel
                                                                                                                                                                                     $19,000.00

             information.............




 54. Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                           $19,000.00



 Part 8: List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2..........................................................................................................................................➜   $490,070.00


 56. Part 2: Total vehicles, line 5                                                                              $38,000.00


 57. Part 3: Total personal and household items, line 15                                                         $21,525.00


 58. Part 4: Total financial assets, line 36                                                                $1,159,614.50


Official Form 106A/B                                                                                 Schedule A/B: Property                                                           page 9
                              Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 10 of 12

 Debtor 1                Timothy                    Luke                         George                                                    Case number (if known)
                         First Name                 Middle Name                  Last Name



 59. Part 5: Total business-related property, line 45                                                  $28,093.00


 60. Part 6: Total farm- and fishing-related property, line 52                                                $0.00


 61. Part 7: Total other property not listed, line 54                                 +                $19,000.00


 62. Total personal property. Add lines 56 through 61..............                                $1,266,232.50           Copy personal property total➜             +   $1,266,232.50




 63. Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................       $1,756,302.50




Official Form 106A/B                                                                        Schedule A/B: Property                                                           page 10
                     Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 11 of 12

Debtor 1         Timothy             Luke             George                 Case number (if known)
                 First Name          Middle Name       Last Name



                                                   SCHEDULE A/B: PROPERTY
                                                         Continuation Page

6. Household goods and furnishings
                                                                                                      $10,000.00
    Appliances                                                                                         $2,000.00
Official Form 106A/B                               Schedule A/B: Property
                       Case 22-33462 Document 1-1 Filed in TXSB on 11/21/22 Page 12 of 12
